        Case 2:17-cv-01017-JEO Document 12 Filed 09/05/17 Page 1 of 2                      FILED
                                                                                  2017 Sep-05 AM 10:50
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA




               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

BRUCE BLACKERBY                                )
                                               )
      Plaintiff,                               )
                                               )
v.                                             )   Civil Action No.: 2:17-CV-01017
                                               )
I.Q. DATA INTERNATIONAL, INC.                  )
                                               )
      Defendant.                               )

                      JOINT NOTICE OF SETTLEMENT

      COME NOW, Plaintiff, Bruce Blackerby and Defendant, I.Q. Data

International, Inc., by collectively (“Parties”), by and through each Parties

respective counsel, to advise the Court that a settlement of this matter has been

reached and that the Parties are engaged in finalizing the settlement and will

shortly file a Joint Notice of Stipulated Dismissal with Prejudice. The undersigned

counsel represents that she has the expressed consent and permission of Brad

Botes, counsel for the Plaintiff to affix his electronic signature hereon and that the

Parties have agreed in terms of this Notice.

      DONE this 5th day of September, 2017.
       Case 2:17-cv-01017-JEO Document 12 Filed 09/05/17 Page 2 of 2




                                  Respectfully submitted,



                                  /s/ Bradford W. Botes
                                  Attorney for Plaintiff


OF COUNSEL:
Bradford W. Botes, Esq.
BOND, BOTES, REESE & SHINN, PC
600 University Park Place, Suite 510
Birmingham, Alabama 35209
Telephone: (205) 802-2200
Facsimile: (205) 870-3698
bbotes@bondnbotes.com


                                  /s/ Laura C. Nettles
                                  Stephen E. Whitehead (ASB-2282-T68S)
                                  Laura C. Nettles (ASB-5805-S63L)
                                  Attorneys for I.Q. Data International, Inc.

OF COUNSEL:
LLOYD, GRAY, WHITEHEAD & MONROE, P.C.
880 Montclair Road, Suite 100
Birmingham, AL 35213
Telephone: (205) 967-8822
Facsimile: (205) 967-2380
steve@lgwmlaw.com
gpulvere@lgwmlaw.com
lnettles@lgwmlaw.com
